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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


 COALITION FOR WORKFORCE
 INNOVATION, et al.,

                     Plaintiffs,

         v.                                                Case No. 21-CV-00130

 MARTY WALSH, in his official capacity as
 Secretary of Labor, et al.,

                     Defendants.


                                       NOTICE OF APPEAL

        PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit from this Court’s March 14, 2022 Memorandum and Order, ECF No.

32, and Final Judgment, ECF No. 33, which entered final judgment in favor of Plaintiffs and

vacated the rules challenged in this litigation.

Dated: May 13, 2022                                Respectfully submitted,

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                                                   Principal Deputy Assistant Attorney General

                                                   BRAD P. ROSENBERG
                                                   Assistant Branch Director

                                                   /s/ R. Charlie Merritt
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2022, DEFENDANTS’ NOTICE OF APPEAL was filed

electronically with the Clerk of the Court and is available for viewing and downloading from the

Electronic Case Filing (ECF) system. I certify that all participants in this case are registered ECF

users and that service will be accomplished by the ECF system.


                                                      /s/ R. Charlie Merritt
